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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             Case No. 18-cv-80176-BLOOM/Reinhart

  IRA KLEIMAN, et al.,

         Plaintiffs,
  v.

  CRAIG WRIGHT,

        Defendant.
  __________________________________/

                                               ORDER

         THIS CAUSE is before the Court upon Plaintiffs’ Motion for Ninety Day Extension of

  Pretrial Deadlines and for Continuance of Trial Date, ECF No. [377] (“Motion”). On January 10,

  2020, the Court entered an Order granting Plaintiffs’ expedited motion to extend discovery and to

  postpose the depositions of Craig Wright, Ramona Watts, and Andrew O’Hagan. ECF No. [375].

  Plaintiffs were given until January 14, 2020 to file a motion seeking any additional relief requested

  as a result of the Court’s January 10, 2020 Order, ECF No. [373]. Id. In that Order, ECF No.

  [373], the Court affirmed in part and reversed in part Magistrate Judge Reinhart’s Order, ECF No.

  [277], that had deemed certain facts established and had struck certain affirmative defenses.

         In the Motion, Plaintiffs argue that they cannot adequately prepare this case for trial under

  the original timeframe in light of the Court’s January 10, 2020 Order. Plaintiffs now seek (1) a

  ninety-day extension of the discovery cut-off and a corresponding extension of the pre-trial

  deadlines and the trial date, and (2) granting seven interrogatories to propound on Defendant that

  must be responded to within ten days. ECF No. [377] at 3-4. During this proposed period,

  Plaintiffs anticipate deposing Defendant after obtaining information regarding the “bonded
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  courier,” id. at 3, deposing Ms. Watts and Mr. O’Hagan, id. at 4, and deposing other fact witnesses.

  Id. at 4-5. Plaintiffs add that they will need to ask Judge Reinhart to reconsider prior rulings

  denying Plaintiffs’ written discovery requests given the current posture of the case, and that they

  may need to conduct further written discovery. Id. at 6. Finally, Plaintiffs request relief from S.D.

  Fla. L.R. 26.1(g) (requiring that discovery disputes be presented to the court by motion within 30

  days) and the ability to raise discovery response issues to Judge Reinhart within 20 days of the

  Court’s Order. Id. at 7.

         The Court has considered the Motion, Defendant’s Response to Plaintiffs’ Motion to

  Extend Deadlines and to Continue Trial, ECF No. [379], Plaintiffs’ Reply in Support of Their

  Motion, ECF No. [381], and is otherwise fully advised. The Court finds good cause exists for the

  continuation of the current pre-trial deadlines and trial dates. Moreover, the Court will afford both

  parties an additional period of discovery. Accordingly, it is

         ORDERED AND ADJUDGED that:

             1. The Motion, ECF No. [377], is GRANTED IN PART.

             2. Plaintiffs shall be entitled to propound seven (7) interrogatories about the bonded

                 courier. Defendant shall respond to those interrogatories within ten (10) days of

                 service.

             3. The parties are granted relief from the time limits imposed in S.D. Fla. L.R.

                 26.1(g)(1). Plaintiffs are permitted to seek additional discovery and may file a

                 motion with the Court should they seek to have the Court reconsider previous

                 discovery rulings.

             4. The Court’s Scheduling Orders, ECF Nos. [78] and [148], are AMENDED as

                 follows:




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         THIS CAUSE is now set for trial during the Court’s two-week trial calendar beginning on

  July 6, 2020, at 9:00 a.m. Calendar call will be held at 1:45 p.m. on Tuesday, June 30, 2020.

  No pre-trial conference will be held unless a party requests one at a later date and the Court

  determines that one is necessary. Unless instructed otherwise by subsequent order, the trial and

  all other proceedings in this case shall be conducted in Courtroom 10-2 at the Wilkie D. Ferguson,

  Jr. United States Courthouse, 400 North Miami Avenue, Miami, FL 33128. The parties shall

  adhere to the following schedule:

   February 4, 2020       Plaintiffs shall raise any discovery disputes based on prior responses
                          from Defendant and/or prior rulings Plaintiffs wish to revisit

   March 2, 2020          Parties are to apprise the Court on the progress of discovery by filing a
                          joint report.

   March 27, 2020         Parties to disclose expert witness summaries or reports or disclose new
                          experts with summaries/reports

   April 6, 2020          Parties exchange any rebuttal expert summaries or reports.

   April 17, 2020         All discovery, including expert discovery, shall be completed.

   May 4, 2020            All pre-trial motions, motions in limine, and Daubert motions (which
                          include motions to strike experts) are filed. This deadline includes all
                          dispositive motions. Each party is limited to filing one motion in limine
                          and one Daubert motion. If all evidentiary issues cannot be addressed in
                          a 20-page memorandum, leave to exceed the page limit will be granted.
                          The parties are reminded that motions in limine must contain the
                          Local Rule 7.1(a)(3) certification.

   June 15, 2020          Parties submit joint pre-trial stipulation in accordance with Local Rule
                          16.1(e), proposed jury instructions and verdict form, or proposed
                          findings of fact and conclusions of law, as applicable.


         DONE AND ORDERED in Chambers at Miami, Florida, on January 15, 2020.



                                                         _________________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE


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  Copies to:

  Counsel of Record




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